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IN THE UNITED STATES DISTRICT COURT Fl|.ED BY _.?#____ D_c_
FOR THE WESTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION 05 __|U[_ ll ph h, la
MNASM.GGU.D
X U.E¥KU.S‘E%STHUCG.RT
EDDIE WILLIAMS, JR. , X woq:i';i ;EEMPHE
X
Petitioner, X
X
vs. X No. 04-2?25-D/V
X
JACK MORGAN, X
X
Respondent. X
X

 

ORDER TRANSFERRING MOTION UNDER 28 U.S.C. § 2244(b) (3)
TO UNITED STATES COURT OF APPEALS E`OR THE SIXTH CIRCUI'I'

 

Petitioner, Eddie Williams, Jr., prisoner registration no.
121015, an inmate at the Brushy Mountain Correctional Complex
(BMCC), in Petros, Tennessee, who was formerly incarcerated at the
West Tennessee Prison (WTSP), in Henning, Tennessee, filed this
petition under 28 U.S.C. § 2254, along with a motion to proceed in
forma pauperis. For the reasons discussed below, petitioner cannot
pursue relief under § 2254 in this district and no filing fee is to
be assessed. Accordingly, the motion to proceed in ;QLQQ pauperis
is DENIED. The Clerk of Court is directed to record the respondent

as Jack Morgan.l The Clerk shall not issue any process.

 

1 Williams was incarcerated at the WTSP at the time he filed this

petition. He has now been transferred to the BMCC. Accordingly, the Clerk shall
delete any reference to WTSP Warden David Mills as the respondent and enter the
name of BMCC Warden Jack Morgan, as respondent. The only proper respondent t

a habeas petition is the inmate’s current custodian

’hrs document entered on the dockets t co ce
with Ru\a 58 and!or 79[a} FRCP on

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l'. PROCEDURAL HISTORY

Williams again seeks to attack his conviction for two counts
of armed robbery entered in the Shelby County Criminal Court in
1988. State v. Williams, 1988 WL 138818 (Tenn. Crim. App. Dec. 28,
1988), perm. app. denied, (Tenn. Apr. 3, 1989). Petitioner's first
state post'conviction petition was denied after an evidentiary
hearing. Williams v. State, 1993 WL 209852 (Tenn. Crim. App. June
16, 1993), perm. app. denied, (Tenn. Nov. 1, 1993). Petitioner's
second state post-conviction petition was also denied. Williams v.
§;a;§, 1995 WL 555047 (Tenn. Crim. App. Sept. 20, 1995), perm. app.
denied, (Jan. 29, 1996).

Petitioner thereafter filed his first federal habeas petition,
which was dismissed on the merits as lacking any arguable federal
component, barred by Stone v. Powell, 428 U.S. 465 (1976), barred
by petitioner's procedural default in state court, or and lacking
arguable merit. Williams v. Conley, No. 96-2650-D/V (W.D. Tenn.
Mar. 26, 1997). Williams appealed and the Sixth Circuit Court of
Appeals dismissed his appeal for want of prosecution. Williams v.
Conley, No. 97-5466 (6th Cir. May 9, 1997).

On April 29, 2002, Williams filed a second habeas petition
alleging that he attempted to file another state post-conviction
petition in the Shelby County Criminal Court which was dismissed as
barred by the statute of limitations on August 22, 2000. Williams

also alleged that he filed a state habeas petition in the Circuit

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Court of Johnson County, which was dismissed for lack of
jurisdiction on June 22, 2001. The second petition contained the
claims previously dismissed for lack of merit in case number 96-
2650-D/V and new claims of ineffective assistance and a claim that
the jury instruction on reasonable doubt was unconstitutional. The
petition was transferred to the Sixth Circuit as successive.
Williams v. Carlton, No. 02-2307-D/A (June 26, 2002). The Sixth
Circuit denied the application for permission to file a successive
petition. Williams v. Carlton, No. 02-5880 (6th Cir. Dec. 12,
2002).

On August 29, 2003, Williams filed a state habeas petition in
Lauderdale County Circuit Court contending that “his sentence ha[d]
expired because [of the] unconstitutional sentence that relief upon
convictions the petitioner’s [sic] ha[d] never been convicted of
that was used during sentencing....” Williams v. Mills, 2004 WL
221297 (Tenn. Crim. App. Jan. 30, 2004). The trial court denied
relief and on appeal, the Tennessee Court of Criminal Appeals
affirmed the denial of habeas corpus relief. ld;

On December 11, 2003, Williams filed a second state habeas
petition in Lauderdale County Circuit Court contending that his
indictment should be dismissed due to discrimination in the
selection of the grand jury foreperson in Shelby County. The trial
court dismissed the petition on December 12, 2003. Williams

appealed and the Tennessee Court of Criminal Appeals affirmed the

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denial of relief. Williams v. Mills, 2004 WL 1159569 (Tenn. Crim.
App. 2004), perm. aop. denied, (Tenn. Aug. 30, 2004).

On September 14, 2004, Williams filed this federal habeas
petition seeking to present his claim of discrimination in the
selection of the Shelby County grand jury foreperson. Williams
cannot file this petition in this district without obtaining
permission from the United States Court of Appeals for the Sixth
Circuit. The Antiterrorism and Effective Death Penalty Act of 1996
(AEDPA), Pub. L. 104-132, Title I, § 102, 110 Stat. 1220 (Apr. 24,
1996), amended 28 U.S.C. § 2244(b) to preclude the filing of any
subsequent habeas petition absent permission from the Court of
Appeals for the Circuit in which the district court is located.
Under In re Sims, 111 F.3d 45, 41 (6th Cir. 1997), "when a second
or successive . . . § 2255 motion is filed in the district court
without § 2244(b)(3) authorization from [the Sixth Circuit], the
district court shall transfer the document to this Court pursuant
to 28 U.S.C. § 1631."

Williams filed his first federal habeas petition after the
enactment of the AEDPA and received a merits determination. He was
advised of the proper procedure for requesting permission to file
a successive petition in 2002. Williams cannot file another habeas
petition in this district without obtaining permission from the
United States Court of Appeals for the Sixth Circuit. 28 U.S.C. §

2244(b)(3)(A). Under In re Sims, lll F.3d 45, 47 (6th Cir. 1997)

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(per curiam), “when a second or successive petition for habeas
corpus relief or § 2255 motion is filed in the district court
without § 2244(b)(3) authorization from [the Sixth Circuit], the
district court shall transfer the document to [the Sixth Circuit]
pursuant to 28 U.S.C. § 1631.

Accordingly, under § 2244(b)(3), Williams's new petition is a
successive petition that cannot be brought under § 2254 without
permission from the Court of Appeals. Therefore, under §im§, 111
F.3d at 47, and 28 U.S.C. § 1631, it is hereby ordered that the
clerk of court transfer this petition to the United States Court of

Appeals for the Sixth Circuit.2

iT rs so oRDERED this [l"‘°`*day of July, 2005.

 
  

 

U ITED STATES DISTRICT JUDGE

 

2 The clerk shall include in the documents transmitted herewith a copy

of all documents from case number 96-2650-D/V and case no. 02-2307-D/A.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02725 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Eddie Williams

BRUSHY MOUNTAIN CORRECTIONAL COMPLEX
12 1 0 1 5

P.O. Box 1000

Petros, TN 37845

Honorable Bernice Donald
US DISTRICT COURT

